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                                            NOT FOR PUBLICATION                              FILED
                                     UNITED STATES COURT OF APPEALS                           JAN 28 2025
                                                                                          MOLLY C. DWYER, CLERK
                                                                                           U.S. COURT OF APPEALS
                                            FOR THE NINTH CIRCUIT

              DAVID ANTHONY STEBBINS,                            No. 24-4992
                                                                 D.C. No. 4:24-mc-80179-HSG
                              Plaintiff - Appellant,

                v.                                               MEMORANDUM*

              JOHN DOE, DBA Creetosis; YOUTUBE,
              LLC,

                              Defendants - Appellees.

                                    Appeal from the United States District Court
                                      for the Northern District of California
                                  Haywood S. Gilliam, Jr., District Judge, Presiding

                                            Submitted January 22, 2025**

              Before:         CLIFTON, CALLAHAN, and BENNETT, Circuit Judges.

                        David Anthony Stebbins appeals pro se from the district court’s order

              barring the filing of his complaint pursuant to a vexatious litigant pre-filing review

              order. We have jurisdiction under 28 U.S.C. § 1291. We review de novo the



                        *
                           This disposition is not appropriate for publication and is not precedent
              except as provided by Ninth Circuit Rule 36-3.
                        **
                           The panel unanimously concludes this case is suitable for decision
              without oral argument. See Fed. R. App. P. 34(a)(2).
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              district court’s determination that a complaint fails to state a claim. Watison v.

              Carter, 668 F.3d 1108, 1112 (9th Cir. 2012). We review for an abuse of discretion

              its determination of frivolousness. Denton v. Hernandez, 504 U.S. 25, 33 (1992).

              We affirm in part, reverse in part, and remand.

                        The district court properly determined that Stebbins failed to allege facts

              sufficient to state a plausible claim for copyright infringement of his channel icon,

              libel, intentional infliction of emotional distress, or conspiracy. See Ashcroft v.

              Iqbal, 556 U.S. 662, 678 (2009) (to avoid dismissal, “a complaint must contain

              sufficient factual matter, accepted as true, to state a claim to relief that is plausible

              on its face” (citation and internal quotation marks omitted)); Ellison v. Robertson,

              357 F.3d 1072, 1076 (9th Cir. 2004) (discussing doctrines of copyright liability);

              Hughes v. Pair, 209 P.3d 963, 976 (Cal. 2009) (elements of a claim for intentional

              infliction of emotional distress under California law); Taus v. Loftus, 151 P.3d

              1185, 1209 (Cal. 2007) (elements of a defamation claim under California law);

              Applied Equip. Corp. v. Litton Saudi Arabia Ltd., 869 P.2d 454, 457 (Cal. 1994)

              (in bank) (explaining there is no tort liability for a conspiracy absent “the

              commission of an actual tort”).

                        However, Stebbins alleged that he owns valid copyrights on four videos and

              that defendant John Doe reproduced those videos in their entirety. Liberally

              construed, these allegations were “sufficient to warrant ordering [defendants] to



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              file an answer.” Wilhelm v. Rotman, 680 F.3d 1113, 1116 (9th Cir. 2012); see also

              Feist Publ’ns, Inc. v. Rural Tel. Serv., Co., 499 U.S. 340, 361 (1991) (explaining

              that a claim for copyright infringement has two elements: “(1) ownership of a valid

              copyright, and (2) copying of constituent elements of the work that are original”);

              Neitzke v. Williams, 490 U.S. 319, 325 (1989) (explaining that a complaint is

              frivolous “where it lacks an arguable basis either in law or in fact”).

                        In sum, we affirm the district court’s order to the extent it rejected

              Stebbins’s claims for copyright infringement of his channel icon, libel, intentional

              infliction of emotional distress, and conspiracy. We reverse in part and remand to

              permit the proposed complaint to proceed only as to the claims for copyright

              infringement regarding the four videos. We express no view on the merits of

              Stebbins’s claims or the availability of any defenses.

                        Stebbins’s motion to file a supplemental brief (Docket Entry No. 19) is

              denied.

                        AFFIRMED in part, REVERSED in part, and REMANDED.




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